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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                  Plaintiffs,
                                           Case No. 1:20-cv-03010-APM
v.
                                           HON. AMIT P. MEHTA
GOOGLE LLC,

                  Defendant.


STATE OF COLORADO, et al.,

                  Plaintiffs,

v.                                         Case No. 1:20-cv-03715-APM

GOOGLE LLC,                                HON. AMIT P. MEHTA

                  Defendant.




      [PROPOSED] BRIEF OF AMICUS CURIAE MOTOROLA MOBILITY, LLC
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I.       Introduction.

         Motorola Mobility LLC (“Motorola”) submits this Brief of Proposed Amicus Curiae to

demonstrate the significant harm to Motorola if the Court were to implement certain provisions

of the United States Department of Justice’s and the Plaintiff States’ (collectively, “Plaintiffs”)

Proposed Final Judgment (ECF No. 1184-1). The Plaintiffs’ Proposed Remedies arguably impact

Motorola more significantly than any other non-party to this litigation, yet Motorola was not part

of the proceedings. This is Motorola’s one and only opportunity to voice its concerns to the

Court.

         The Plaintiffs’ Proposed Remedies, in particular, threaten Motorola’s receipt of critical

income from Google related to search, which is essential to Motorola’s ability to compete against

larger smartphone manufacturers. Eliminating search-related payments to Motorola risks creating

a competitive shift in the U.S. smartphone market that would result in less competition, not

more. Motorola uses payments from Google to fund directly manufacturing, research and

development (“R&D”), marketing, and other costs to reduce prices for United States carriers and

consumers for Motorola’s smartphones, as set forth in the February 20, 2025, deposition

testimony of Motorola’s Global Chief Strategy & Marketing Officer, Francois Laflamme, and

documents produced by Motorola in this case.

         Throughout the proceedings, Motorola’s testimony and documents were frequently cited

and used by the parties to advocate for their positions, but none got it correct. Motorola’s

proposed brief of amicus curiae is, therefore, crucial because it presents the full picture of the

potential unintended consequences of the Proposed Remedies to the United States’ smartphone

market and is not likely to come from the Parties’ briefing.

         Motorola is unique. Not only is it a competitor of Google’s, but it is also a customer.

Motorola is also substantially smaller than the two leading smartphone manufacturers in the
                                                  1
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United States whose parent companies both have tremendously large annual revenues affording

them different options if the Proposed Remedies are implemented. The Court’s remedy should,

therefore, be carefully crafted so as not to harm smaller manufacturers like Motorola. The Court

should permit search payments, especially to entities that represent a small percentage of the

smartphone market, as Motorola proposes. Doing so is not only supported by precedent, but also

will ensure that these proceedings do not unintentionally cause less competition rather than more

in the smartphone market.

        Plaintiffs’ Proposed Remedies harm Motorola and overall competition for smartphones

and should not be implemented by the Court unless altered to prevent undue harm to smaller

OEMs like Motorola. Google’s Proposed Remedies that may affect Motorola, however,

generally align with Motorola’s interest in remaining competitive and, therefore, should be

granted

II.     Motorola and Its Relationship with Google.

        Motorola is a consumer electronics and telecommunications company and original

equipment manufacturer (“OEM”) that offers a variety of smartphones catering to different

segments: 1) flagship smartphones, or high-end devices with advanced features and

specifications; 2) mid-range smartphones, which balance performance and price, and offer

standard features suitable for most users; 3) budget or affordable smartphones with mainstream

specifications for cost-conscious consumers; 4) specialty smartphones, with unique functionality

and features; and 5) entry-level or low-end smartphones designed for basic users who seek

essential features at a low cost.

        Motorola is a party to multiple contracts with Google through which Motorola receives

significant payments or licenses Google’s proprietary mobile applications developed for the

Android operating system. See Ex. A, Feb. 20, 2025, Deposition Transcript of Francois
                                                2
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Laflamme (“Laflamme Dep.”) 33:15-34:16, 41:2-45:4, 64:5-9, 168:3-170:15; see also PXR0541

(Laflamme Dep. Ex. 3 – Amendment 10 to Google Mobile Incentive Agreement); PXR0253

(Laflamme Dep. Ex. 1 – Marketing Agreement); PXR0542 (Laflamme Dep. Ex. 8 – General Go-

To-Market Agreement); RDX0444 (Laflamme Dep. Ex. 9 – Gemini Go-To-Market Agreement).

Motorola, therefore, wears many hats. It is a customer of Google’s Android operating system, a

distributor of and access point for Google Search, and a competitor of Google in the smartphone

market. As a customer, Motorola implements a “pure” Android system for its smartphones,

capitalizing on Android’s open-source nature. Pure Android refers to an unaltered version of

Android as envisioned by Google, without “bloatware” or unwanted “skins” or apps installed by

certain manufacturers that may slow down Android’s performance. As a distributor, Motorola

pre-installs Google services (e.g., Search, Maps, and the Play Store) on its devices, acting as a

critical access point for Google’s ecosystem. This integration drives user engagement with

Google’s products. In addition to this partnership, Motorola also competes directly with

Google’s smartphones in the mid-range and budget segments.

       Motorola receives: 1) revenue share payments from Google under its Revenue Share

Agreement (“RSA”)/Mobile Incentive Agreement (“MIA”); and 2) go-to-market funds under a

general Go-To-Market Marketing Agreement (“Marketing Agreement”) with Google. See

PXR0541 (Laflamme Dep. Ex. 3 – Amendment 10 to Google Mobile Incentive Agreement);

PXR0253 (Laflamme Dep. Ex. 1 – Marketing Agreement); PXR0542 (Laflamme Dep. Ex. 8 –

General Go-To-Market Agreement). Motorola is also eligible to receive go-to-market funds

specifically related to the promotion of Gemini under a separate Gemini Go-To-Market

Agreement (“Gemini Marketing Agreement”). See RDX0444 (Laflamme Dep. Ex. 9 – Gemini

Go-To-Market Agreement).


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         The RSA payments are largely unrestricted; therefore, Motorola broadly uses them to

directly fund manufacturing, R&D, and other costs, which reduces prices of Motorola’s

smartphones to U.S. carriers and consumers, while maintaining their quality and innovation. See,

e.g., Laflamme Dep. 49:11-50:22; see also Ex. B, Dec. 21, 2021, Deposition Transcript of Eric

Christensen (“Christensen Dep.”) 70:22-71:3, 90:17-91:12. Without the RSA payments from

Google that help fund Motorola’s innovation efforts, Motorola could not compete as effectively

against Apple, Samsung, and Google in the smartphone market. See, e.g., Laflamme Dep.

100:19-101:6.

         Conversely, Motorola must use the go-to-market funds according to Google’s

instructions. See Laflamme Dep 73:7-74:6. While the go-to-market funds are important and

appreciated, they do not replace RSA payments. Laflamme Dep. 41:2-22; see also id. 79:14-

80:21 (“The spirit of go-to-market, in [Laflamme’s] view, is additional dollars to be spent very

specifically to amplify the message of what [Motorola is] doing jointly and/or whatever platform

that Google or other partners would want to amplify.”). For example, the most recent Marketing

Agreement includes a list of products eligible for marketing dollars, and states that a Google

committee will approve Motorola’s marketing plans for those products. See PXR0542. And the

Gemini Marketing Agreement states that the funds will be used to promote Gemini apps and

services. PXR0253, Attachment A.

III.     Precedent Requires that Remedies for Monopolization Should Address the
         Underlying Anticompetitive Conduct Without Otherwise Harming Competition.

         Remedies implemented to address anticompetitive conduct must do so without harming

competition. In United States v. Microsoft Corp., the D.C. Circuit emphasized this point. 253

F.3d 34 (D.C. Cir. 2001). Specifically, the court stated that remedies should be “tailored to fit the

wrong creating the occasion for the remedy” and eschew “unacceptable and unjustified

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burden[s]” on lawful competition. Id. at 70, 107; see also New York v. Microsoft Corp., 224 F.

Supp. 2d 76, 136 (D.D.C. 2002) (citing Spectrum Sports v. McQuillan, 506 U.S. 447, 458

(1993)) (stating that courts “must be ‘careful to avoid constructions of § 2 which might chill

competition, rather than foster it’”); id. at 177 (if the Court finds there “is sufficient harm which

flows from the [proposed remedies] which is not countermanded by competitive benefit,” then

“it is best not to require” the Parties to implement such proposed remedies). Of particular

relevance to this case, the United States v. Microsoft Final Judgment did not prohibit Microsoft

from offering discounts or incentives to OEMs for promoting or distributing Internet Explorer

while still addressing and preventing specific types of Microsoft’s practices that the Court

considered anticompetitive. 97 F. Supp. 2d 59, 66 (D.D.C. 2000). The Final Judgment required

that

         Microsoft shall not take or threaten any action adversely affecting any OEM . . . based
         directly or indirectly, in whole or in part, on any actual or contemplated action by that
         OEM: (1) to use, distribute, promote, license, develop, produce or sell any product or
         service that competes with any Microsoft product or service; or (2) to exercise any of the
         options or alternatives provided under this Final Judgment.

Id. An “action adversely affecting any OEM” was defined by the court as “giving or withholding

any consideration” including but not limited to licensing terms, discounts, sales or marketing

support, information about future plans, and developer tools or support, among other examples.

Id. (emphasis added).

         To protect competition and avoid harming a monopolist’s contracting partners, courts

have actually required that certain payments, which support competition, continue so as not to

cause undue harm. For example, the Court in Federal Trade Commission v. Surescripts, LLC

ordered that Surescripts both eliminate the exclusive agreements at issue and continue making

the same level of payments to certain contracting partners. See Stipulated Order for Permanent


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Inj. and Equitable Relief, No. 1:19-cv-01080, § II (D.D.C. Aug. 9, 2023). Thus, courts continue

to permit payments—and have found it imperative that payments continue—to avoid harming a

monopolist’s partners and thereby detrimentally impacting innocent third parties.

IV.      The Parties’ Proposed Remedies.

         A.     Plaintiffs’ Proposed Remedies Affecting Motorola.

         Plaintiffs’ Proposed Remedies would harm Motorola’s business. First, Plaintiffs’

Proposed Remedies ban Google from offering or providing “to any Distributor any payment that

is determined or calculated based on the usage of or revenue generated by—or any similar factor

for—any particular GSE or Search Access Point (e.g., Google queries, Google Search Text Ad

clicks, Google selections on a Choice Screen).” Pls.’ Revised Proposed Final J., §§ IV.D-E, ECF

No. 1184-1, Mar. 7, 2025. Motorola falls within the definition of a “Distributor” as a “Person

that contracts with Google to display, load, or otherwise provide access to a Google product” by

virtue of Motorola’s agreements with Google. Through the RSA, Motorola shares in Google

Search revenue in exchange for certain placement requirements. Specifically, Motorola receives

fixed dollar amounts based on how many Motorola devices are enrolled in the premier tier

monthly incentive program, with Motorola receiving the highest amount of revenue share when

95% or more of its devices are enrolled. Currently, “the RSA payment is a fixed amount, and is

based on number of devices more than the actual revenue associated with a consumer accessing

Google properties.” Laflamme Dep. 62:18-63:13.

         Plaintiffs’ Proposed Remedies also offer a choice screen solution that would

detrimentally impact Motorola. See Pls.’ Revised Proposed Final J., § IX.A, ECF No. 1184-1

(Mar. 7, 2025). This proposal requires Motorola to include a choice screen on all its devices with

Google Search preloaded.


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       Plaintiffs’ Proposed Remedies further include divestiture provisions for Chrome and

Android that could negatively impact Motorola. Specifically, Plaintiffs’ Proposed Remedies

require that “Google must promptly and fully divest Chrome, along with any assets or services

necessary to successfully complete the divestiture, to a buyer approved by the Plaintiffs in their

sole discretion, subject to terms that the Court and Plaintiffs approve,” and “[i]n the event the

remedies in this Final Judgment prove insufficient to serve their intended purposes of restoring

competition or if Google attempts to or is successful in circumventing these remedies, then the

Court may impose additional structural relief, including the divestiture of Android.” Pls.’

Revised Proposed Final J., §§ V.A, V.C, ECF No. 1184-1, Mar. 7, 2025.

       B.      Google’s Proposed Remedies Relevant to Motorola.

       Google’s Proposed Remedies, conversely, give Motorola more of an “à la carte model”

that maximizes flexibility while still permitting appropriate revenue sharing. See Laflamme Dep.

101:13-104:20. Google’s Proposed Remedies restrict Google’s business from bundling or tying

Google apps as a condition for licensing Google Play or other apps. See Google’s Proposed Final

J., ECF No. 1185, Mar. 7, 2025. Google’s Proposed Remedies also restrict Google from

preventing manufacturers from preloading or supporting third-party search engines, browsers, or

generative AI (“GenAI”) assistants. See id. § III.A-J. Additionally, Google’s payment to third

parties for preloading a particular app, such as Google Search, cannot be conditioned on

preloading other apps, such as Chrome or Gemini. See id.

       Google’s Proposed Remedies also prohibit Google from entering “into any agreement

requiring a Browser Developer to set Google Search as the Browser Default Search Engine in a

Third-Party Browser in the United States unless the agreement (i) permits the Browser

Developer on an annual basis to set a different Default Search Engine in the United States for

any Operating System Version . . . .” Google’s Proposed Final J., § K, ECF No. 1185, Mar. 7,
                                                  7
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2025. This proposed remedy would allow Motorola to preload competing search engines more

easily, potentially increasing search engine competition and giving Motorola greater flexibility in

negotiating with other providers besides Google.

V.      The Court Should Not Grant Plaintiffs’ Proposed Remedies Affecting Motorola and
        Should Grant Google’s Proposed Remedies.

     The Court should not grant Plaintiffs’ Proposed Remedies because they harm Motorola and

overall competition for smartphones. Google’s Proposed Remedies that are pertinent to

Motorola, however, generally align with Motorola’s interest in obtaining more flexibility and,

therefore, should be granted. See Google’s Proposed Final J., § III.A-J, ECF No. 1185, Mar. 7,

2025.

        A.     The Court Should Not Grant Plaintiffs’ Proposed Remedy Eliminating
               Payments Based on Search.

               1.      Case law has allowed remedies that permit payments to certain partners
                       to continue to avoid unnecessary harm to customers and competition.

        Third party customers and competition generally should not be harmed by remedies

meant to curtail anticompetitive behavior of defendants. For example, the Final Judgment in

United States v. Microsoft did not prevent Microsoft from offering discounts or incentives to

manufacturers who promoted or distributed Internet Explorer, but instead prevented specific

Microsoft conduct that the Court deemed anticompetitive. See 97 F. Supp. 2d at 66; see also,

Hr’g Tr. 95:18-24, Apr. 21, 2025 (“[T]he Microsoft final judgment did not prohibit Microsoft

from paying OEMs to promote or distribute Internet Explorer. It prevented and addressed the

specific types of contracts that were at issue, but there was never a blanket prohibition on

Microsoft providing discount or price competition going forward”). Additionally, the court in

FTC v. Surescripts ordered that Surescripts not be prohibited from making payments to certain

partners, including electronic health record vendors and other network participants and, in fact,

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specifically mandated how Surescripts must handle existing payment structures and incentives,

including maintaining certain payments. See Stipulated Order for Permanent Inj. and Equitable

Relief, No. 1:19-cv-01080, § II (D.D.C. Aug. 9, 2023).

                2.      Plaintiffs’ Proposed Remedies would harm Motorola.

        Plaintiffs’ Proposed Remedies threaten Motorola’s interest in receiving payments based

on Google Search. 1 Plaintiffs generally seek to ban Google from paying smartphone

manufacturers to set Google Search as the default, preload or preinstall Google Search, or give

preferential treatment to Google Search over competitors. See Pls.’ Revised Proposed Final J., §

IV.A, ECF No. 1184-1, Mar. 7, 2025.

        Plaintiffs’ Proposed Remedies ignore commercial realities. If implemented, they would

significantly reduce Motorola’s income in the U.S. and, therefore, threaten its ability to remain

competitive. Despite facially prohibiting only Google from paying for Search, Plaintiffs’

Proposed Remedies also eliminate incentives for Google’s competitors to pay. In fact, these

same competitors, many with substantial funds (e.g., Amazon, Meta, and Microsoft), have had

ample opportunities to pay for their products to be placed on Motorola’s devices for years, yet

none offered anything close to Google. See Laflamme Dep. 82:13-85:5; see also Christensen

Dep. 108:8-111:2 (Amazon did not put forward sufficient dollars to compete to preload Alexa on

Motorola devices). Nothing prevented these third parties from entering into RSAs with Motorola

like Google, but yet none did. See e.g., Laflamme Dep. 135:18-136:6.

        Google sets the “baseline” for other competitors. See Laflamme Dep. 82:13-85:5.

Therefore, if the Court decides Google cannot pay OEMs, other competitors would be highly

unlikely to step into Google’s shoes. See Laflamme Dep. 66:18-69:14, 82:13-84:14, 149:19-


1
 It is also unclear whether Plaintiffs’ Proposed Remedies, as written, also prohibit Google from
continuing to provide Motorola with go-to-market funds.
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155:22, 173:14-174:6 (speaking to lack of viable alternatives for receipt of comparable revenue

share payments).As one example, while Motorola seriously considered placing Amazon’s Alexa

assistant on its devices several years ago, Google’s offer to place Google Assistant on Motorola

smartphones was ultimately “more compelling” because “the terms of the Google forward

agreement were far simpler for [Motorola] to execute” compared to Amazon’s “complex[]”

agreement and “the bounty for the Google offer was far greater than . . . the combination of

incentives that Amazon was willing to provide.” Christensen Dep. 108:8-111:2. Google was

consistently leaps and bounds ahead of its competitors in its willingness to share.

       Additionally, competitors to Google have historically not been technically viable. See

Laflamme Dep. 176:10-177:20. It will take time for competitors to offer sufficient alternatives to

Google. While they attempt to catch up, OEMs such as Motorola will be harmed without access

to revenue share payments. See Laflamme Dep. 175:9-178:8. Thus, even if we assume that third

parties were incentivized to pay OEMs through Plaintiffs’ Proposed Remedies (which they are

not), the time needed to develop a realistic product alternative to Google Search is too great,

which would result in unintended harm to Motorola.. See Hr’g Tr. 373:6-12, Apr. 22, 2025 (Nick

Turley, OpenAI Head of Product for ChatGPT, stating, “It is my understanding that these third

parties [such as Motorola] were under the impression that we would never pay as much money as

they would get from Google. The conversations have stalled, and we were put under the

impression that, you know, we should come back if we had, you know, significant more --

significantly more money to offer. . .”); see also Hr’g Tr. 726:19-727:4, Apr. 23, 2025 (Dmitry

Shevelenko, Perplexity Chief Business Officer, stating that “it will take a long time for any

challenger that has a better product for users to be able to directly replace, you know, dollar for

dollar” the revenue share payments Google provides third parties.).


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        Plaintiffs’ Proposed Remedies also would negatively impact Motorola’s U.S. operations.

Plaintiffs selectively cite Motorola for why the Court should ban payments for distribution. See

Pls.’ Pre-Trial Brief, Footnote 1 and page 7, ECF No. 1218, Apr. 16, 2025. However, Plaintiffs

conveniently and somewhat disingenuously ignore Motorola’s full testimony stressing the harm

that will result to Motorola if that happens. See Laflamme Dep. 108:15-109:7 (cited by Plaintiffs

in their opening statement). Importantly, Motorola testified that the payments received from

Google help Motorola retain its U.S. employees, contribute directly toward payroll and real

estate, and fund R&D, specifically in the US. See, e.g., Laflamme Dep. 77:4-78:19.

        Allowing payments unrelated to Search does not address the harm to Motorola. Google

pays Motorola based on Search because Google derives revenue from Search ads. Advertisers

pay Google to display ads, and Google then shares a portion of this ad revenue with partners who

make Google the default search engine. Key to this arrangement is the existence of a revenue

source from which to share. Google’s competitors do not have the search ad revenue, so there is

no competitor that could possibly place Motorola in a position similar to where it is today.

Plaintiffs’ proposed remedy fails to address this key point. 2

                3.       Plaintiffs’ Proposed Remedies would harm competition.

        Plaintiffs’ Proposed Remedies would harm competition because they threaten to impair

smaller OEMs’ ability to compete in the smartphone market, potentially narrowing the

competitive set or allowing larger competitors like Apple and Google to strengthen their

position. See Laflamme Dep. 39:12-40:4, 77:6-85:6. Motorola agrees that, because the Court

already found as anticompetitive certain aspects of Google’s exclusive arrangements with OEMs


2
  Notably, the recent U.S. District Court for the Eastern District of Virginia decision against Google calls
into question whether allowing payments unrelated to search would even be possible as an option going
forward. United States v. Google LLC, No. 1:23-CV-108 (LMB/JFA), 2025 WL 1132012 (E.D. Va. Apr.
17, 2025) .
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to distribute Google Search and to serve as an access point for Google Search Ads, the Court

should address those aspects. The Court should not, however, adopt remedies that

unintentionally harm smaller OEMs like Motorola and the smartphone market because doing so

would harm competition overall. Motorola and other companies of its size and revenue do not

have the resources to develop their own operating systems, application stores, or search engines

like the larger, vertically integrated OEMs. See Laflamme Dep. 100:18-101:6. In particular, if the

Court were to impose remedies harming Motorola causing it to reduce its overall share in the

U.S., then Apple, Samsung, and Google itself, would face less competition for smartphones,

likely driving up prices. Plaintiffs’ Proposed Remedies, therefore, favor large, vertically

integrated phone manufacturers over OEMs like Motorola.

        Contrary to Plaintiffs’ stated remedial intent, eliminating Search revenue payments will

allow Google to retain “monopolistic profits” to itself, potentially enhancing its alleged market

power. 3 If Google were prohibited from making Search revenue payments to third-party partners,

Google could use the same revenue to its own benefit. Rather than fostering a level playing field,

the remedy would effectively reward Google by increasing its financial advantage over

competitors, starving them of the resources needed to more thoroughly compete with Google’s

smartphones. In its Pre-Trial Brief, Plaintiffs argue banning “unlawful payments” will spur

innovation by rivals and eliminate barriers to entry. See Pls.’ Remedies Pre-Trial Br., ECF No.

1218, Apr. 16, 2025. This is unlikely to happen. Banning RSA payments essentially eliminates

the opportunity for innovation from smartphone manufacturers such as Motorola, see Laflamme




3
 Google is not only a general search engine and search advertising provider but also a smartphone
competitor; thus, if Motorola was forced to leave the smartphone market due to a lack of RSA payments,
Google would likely pick up a significant portion of Motorola’s share and further consolidate that market.
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Dep. 77:4-78:19, and instead allows Google to retain the revenue share payments for its own

benefit in the markets for general search, general search advertising, and smartphones.

        Banning payments directly reduces Motorola’s ability to innovate. As a smaller

manufacturer, Motorola experiments with new products and takes innovative risks in ways that

larger manufacturers with sizable market share to protect often are not. For example, Motorola

launched the world’s first 5G-upgradable phone, which was developed in partnership with

Verizon. 4 Motorola is changing the marketplace and driving innovation, particularly in the U.S.,

and these efforts are significantly funded by Google’s RSA payments.

        B.       If the Court Decides to Grant Plaintiffs’ Remedy Eliminating Search
                 Revenue Payments, the Court Should Still Allow Search Payments to Smaller
                 OEMs Like Motorola.

        Precedent has upheld remedies that maintain payments to certain partners to avoid

unnecessary harm to competition. The Court should follow that precedent. If the Court

implements Plaintiffs’ Proposed Remedies removing Google’s ability to make revenue share

payments, the Court should permit Google to continue making payments to smaller OEMs, such

as Motorola, to avoid undue harm to smaller smartphone manufacturers.

                 1.      If the Court were to allow Plaintiffs’ proposed remedy, Motorola proposes
                         an alternative remedy that avoids harming smaller OEMs and
                         competition.

        If the Court prohibit revenue share payments, the Court should avoid harming smaller

competitors such as Motorola. Thus, Motorola proposes an alternative remedy, which addresses

the Court’s liability ruling while preserving competition for OEMs. Motorola proposes

permitting Google to continue making revenue share payments to smartphone manufacturers that



4
 See Matt Swider, Moto Z3 is the world's first 5G-upgradable smartphone, say Motorola and Verizon, TechRadar
(Aug. 2, 2018), https://www.techradar.com/news/moto-z3-is-the-worlds-first-5g-upgradable-smartphone-say-
motorola-and-verizon.
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collectively represent less than 30 percent of the U.S. market, measured by either units sold or

revenue. This alternative remedy cures the alleged unlawful exclusive dealing in the markets for

general search and general search advertising services, as found by the Court during the merits

phase, but does not pose significant risk to Motorola and other smaller OEMs.

                2.       Case law supports Motorola’s proposed alternative remedy.

        Case law supports Motorola’s proposition that payments for search made to OEMs

(comprising a smaller share of the smartphone market) addresses antitrust concerns arising from

exclusive agreements, while avoiding unnecessary and unintended harm to smaller and mid-size

competitors.

        Although the D.C. Circuit does not have an established “threshold market share

percentage that plaintiffs must meet to establish dangerous probability of success, other courts

have” weighed in on such requisite thresholds. American President Lines, LLC v. Matson, Inc.,

633 F. Supp. 3d 209, 233 (D.D.C. 2022) (citing Neumann v. Reinforced Earth Co., 786 F.2d 424,

428 (D.C. Cir. 1986)) (“suggesting that a ‘share of 30% or less presumptively disproves requisite

power’”). 5 Case law in this Circuit, and other Circuits, generally supports the proposition that


5
  See also Sterling Merch., Inc. v. Nestle, S.A., 656 F.3d 112, 124 (1st Cir. 2011) (holding requisite
foreclosure was unlikely when defendant’s exclusive agreements foreclosed less than 30% of the
market); United States v. Microsoft Corp., 87 F. Supp. 2d at 52 (“[T]he case law suggests that, unless the
evidence demonstrates that Microsoft’s agreements excluded Netscape altogether from access to roughly
forty percent of the browser market, the Court should decline to find such agreements in violation of § 1.”);
Tri-State Rubbish, Inc. v. Waste Mgmt., Inc., 875 F. Supp. 8, 13 (D. Me. 1994) (holding that because
defendant’s exclusive agreements applied to only 30% of relevant market, they were reasonable, and noting
that competitors had gained new accounts and customers were unharmed); Woman’s Clinic, Inc. v. St.
John’s Health Sys., Inc., 252 F. Supp. 2d 857, 867 (W.D. Mo. 2002) (finding insufficient market power for
defendant to impair competition when defendant’s exclusive contracts covered only 35% of the market and
no evidence of actual anti-competitive effects was presented); Servicetrends v. Siemens Med. Sys., 870 F.
Supp. 1042, 1065–66 (N.D. Ga. 1994) (finding exclusive dealing arrangements reasonable in light of 38%
market foreclosure and buyers’ business needs); Sewell Plastics, Inc. v. Coca-Cola Co., 720 F. Supp. 1196,
1212–14 (W.D. N.C. 1989) (market foreclosure of 40% was insufficient to prove unreasonableness); Kuck
v. Bensen, 647 F. Supp. 743, 746 (D. Me. 1986) (upholding exclusive provider contract which did not
“unreasonably enhance” hospital’s market position over competitor, where defendant’s market share was
only 37%); Maxon Hyundai Mazda v. Carfax, Inc., No. 13-cv-2680 (AJN), 2016 U.S. Dist. LEXIS 171418,
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exclusive agreements do not foreclose competition so long as the agreements cover 30 percent or

less share of the relevant market. See also id. at 228 (citing 11 Areeda & Hovenkamp, Antitrust

Law, ¶ 1821(c) (4th ed. 2018)) (“[S]ingle-firm foreclosure percentages of less than 30 percent in

a properly defined market would seem presumptively harmless to competition.”).

       The American President Lines court held that “[t]o violate the Sherman Act, an

exclusivity program must foreclose a ‘substantial percentage’ of the relevant market from

competition, which has often been cited as about 40% of the relevant market.” 633 F. Supp. 3d at

228 (citing U.S. v. Microsoft, 253 F.3d at 70-71). American President Lines further states,

“[w]hen the defendant is a monopolist, . . . an even lower percentage may suffice.” Id. (citing

U.S. v. Microsoft, 253 F.3d at 70-71) (“[A] monopolist’s use of exclusive contracts, in certain

circumstances, may give rise to a § 2 violation even though the contracts foreclose less than the

roughly 40% or 50% share usually required in order to establish a § 1 violation.”).

       With a 30 percent threshold, 70 percent of the smartphone market would be free of

agreements with Google that might be used to foreclose another general search or general search

advertising competitor from access to smartphone consumers. However, Google’s continued

ability to make some revenue share payments would maintain competition in the smartphone

market. As noted, preserving revenue share payments will provide Motorola with the direct

ability to continue competing in the smartphone market as Motorola uses such payments to fund

its R&D, marketing, and support other costs. Importantly, preserving some ability by Google to




at *86–89 (S.D.N.Y. Sep. 30, 2016) (granting defendant’s motion for summary judgment as plaintiffs did
not show that defendant’s exclusive agreements with used car websites foreclosed at least 30–40% of
market for vehicle history reports); Connecticut Ironworkers Emps.’ Assoc. v. New England Reg’l Council
of Carpenters, 324 F. Supp. 3d 293, 311–12 (D. Conn. 2018) (noting requirement of 30–40% foreclosure
and dismissing exclusive dealing claims at summary judgment stage on the basis of lack of evidence of
market power).
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offer payments—instead of a blanket prohibition—will not only remedy the underlying violation,

but will also preserve competition in smartphones consistent with precedent.

       C.      The Court Should Not Grant Plaintiffs’ Requested Choice Screen Remedy.

       Contrary to Plaintiffs’ assertions, choice screens do not help reduce biases in consumer

choices in search. See Pls.’ Revised Proposed Final J., § IX.A, ECF No. 1184-1, Mar. 7, 2025. In

fact, Plaintiffs’ choice screen proposed remedy would certainly harm Motorola. Choice screens

do not work and would lower payments to OEMs like Motorola, while Google retains more

revenue.

       As Motorola experienced in the European Union, choice screens fail because consumers

continue to choose Google Search and Chrome regardless. See Laflamme Dep. 87:4-89:2; see

also Ex. C at MOTO-DDC-00162956 (indicating Chrome usage remains unchanged following

EU’s implementation of choice screens in 2022); PXR0135 (stating requirement of choice screen

“caused Google to change its monetization model where they share much less of

the monetization with OEMs in Europe,” and “[i]n Europe, they increased choice but then

started charging a fee for licenses and then provide a discount to pre-load their apps”)

(emphasis added). Thus, although requiring choice screens “has not changed behavior in the

consumer [because] they are still choosing Chrome, even once given the choice,” choice screens

further “reduce Google’s incentive, or need, to pay OEMs like [Motorola] in terms of revenue

share, because ultimately []Google[] is the consumer’s choice.” See Laflamme Dep. 87:4-89:2.

Consequently, choice screens have had “very negative” consequences for Motorola. See Id.

       Additionally, even though Plaintiffs’ Proposed Remedies would require that OEMs

receive from Google “a fixed monthly payment equal to the average monthly amount that

Google paid to the Distributor for that Device during the shorter of the 12-month period prior to

the date of entry of this Final Judgment or the lifetime of the Device,” 12 months or less is not
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enough time to make OEMs like Motorola whole. Pls.’ Revised Proposed Final J., § IX.A, ECF

No. 1184-1, Mar. 7, 2025. Using the European Union as an example, it has been years since

choice screens were implemented and Motorola is significantly worse off. See Laflamme Dep.

87:4-89:2.

       Because choice screens reduce Google’s incentive to share revenue with partners, a

choice screen would also likely reduce the incentive of Microsoft, Epic, Perplexity, and other

competitors to offer any revenue share. If Google—whose search engine is largely consumers’

preference even when choice screens are implemented—has less incentive to pay Motorola,

competitors’ incentives will diminish as well. See Id.

       Motorola, therefore, opposes the requirement to implement choice screens in Plaintiffs’

Revised Proposed Final Judgment. However, if the Court adopts choice screens, Motorola

strongly believes that Google should be allowed to share revenue with OEMs when a consumer

chooses Google Search via such a choice screen to prevent harm to competition in the

smartphone market.

       D.      The Court Should Not Grant Plaintiffs’ Requested Divestiture Remedies as
               Stated.

       Plaintiffs’ proposed divestitures of Chrome and Android fail to address Motorola’s

interests because they do not contemplate Motorola having any input on a potential buyer. One

of Motorola’s key differentiators is the pure Android experience. Thus, the Android operating

system is crucial to Motorola’s brand and success. If Motorola were to lose the ability to offer

the Android operating system to its consumers because Android is sold to a competitor, for

example, or purchased by an entity that does not want to contract with Motorola or permit

Motorola to continue implementing the operating system for free, Motorola—and its

customers—will be impacted significantly.

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       So long as Chrome and Android are not divested to an existing smartphone competitor,

Motorola does not take a position on the Court implementing these Proposed Remedies.

Nevertheless, should the Court implement Plaintiffs’ proposed divestiture remedies, Motorola

seeks to provide input regarding any proposed purchasers given the likely significant impact on

Motorola’s products and business and potential harm that Motorola would suffer based on the

identity and incentives of the purchaser of Chrome or Android.

       E.      The Court Should Grant Google’s Decoupling and No Self-Preferencing
               Remedies.

       Motorola and Google recently amended their RSA on February 7, 2025 to ensure

flexibility to implement other third-party GenAI, search, and assistive services without reduction

of its RSA payments. Although Google never expressly prohibited Motorola from implementing

non-Google GenAI and assistive services, and Motorola never had a “discussion with Google

where [Google] told [Motorola] that it put at risk the full suite of [revenue share] dollars if

[Motorola had an] arrangement with” a third-party GenAI app, the language of the prior version

of the RSA relating to such implementation was unclear to Motorola. See Laflamme Dep.

152:16-20. Therefore, at Google’s suggestion, the parties renegotiated their RSA to explicitly

permit Motorola to contract with other parties for GenAI and assistive services without running

afoul of the RSA terms. See Hr’g Tr. 355:25-356:3, Apr. 22, 2025 (regarding the new RSA,

Peter Fitzgerald, Google VP – Global Partnerships, states, “[i]t also removes the search in

Chrome placement obligations” and “[t]here’s also no restrictions for GenAI services or

alternative search services.”); see also id. 356:15-24 (Fitzgerald further noting the new RSA

clarifies that “any alternative search provider or alternative assistive service provider or GenAI

service, like ChatGPT, CoPilot, Perplexity, [Motorola is] able to have agreements with them,

[Motorola is] able to work with them” and Motorola can “still receive payments under this RSA

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while having the other GenAI providers [he] identified installed on the same devices.”); id.

357:3-11 (Fitzgerald discussing the recent letter Google sent to Motorola “in connection with its

obligations under the current RSA,” which “waives any Assistant requirements” and “clarifies

[that there are] no restrictions on alternative assistive services”); id. 364:16-17 (noting

“Perplexity and CoPilot and Gemini will all be offered side by side on the same [Motorola]

device”).

         Google’s proposed remedy eliminating bundling and self-preferencing, therefore,

accomplishes what Motorola’s new agreement does and mirrors the provisions that Motorola

already negotiated with Google in relation to the RSA. In fact, Motorola is continuing to pursue

partnerships with GenAI providers other than Google today, and nothing “in Google’s current

agreements with Motorola [] would prevent Motorola from doing that.” See Hr’g Tr. 363:10-12,

364:1-23, Apr. 22, 2025.

         Throughout the remedies phase of this trial, the Court has heard testimony from non-

Motorola witnesses about Motorola’s supposed view of Google. These statements were often

misleading or inaccurate. Motorola has, from time to time, been concerned about Google’s

potential to retaliate against it should Motorola engage with other GenAI or assistive services

providers. See PXR0139; see also Hr’g Tr. 38:10-23, Apr. 21, 2025. However, these concerns

occurred prior to the companies amending their RSA terms in February 2025 to make it

abundantly clear that no such retaliation would happen. Motorola recently launched a new

product line with multiple AI search engines included without fear of retaliation. Therefore,

Motorola believes Google’s Proposed Remedies sufficiently address any concerns a party may

have about retaliation. See Google’s Proposed Final J., ECF No. 1185, § III.G, Mar. 7, 2025.

VI.      Conclusion

         Motorola respectfully requests that the Court deny Plaintiffs’ Proposed Remedies or alter
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certain provisions in a manner that would not result in harm to Motorola and competition at

large, and grant Google’s Proposed Remedies relevant to Motorola. See id. § III.A-J. Motorola

takes no position on the other provisions of Google’s Proposed Final Judgment.




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Dated: May 9, 2025                       Respectfully submitted,

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                                 STATEMENT OF COUNSEL

       In accordance with Local Rule 7(o) and Fed. R. App. P. 29(a)(4)(E), Motorola Mobility

LLC (“Motorola”) certifies that (1) this brief was authored entirely by its counsel and not by

counsel for any party in the above-captioned dispute, in whole or in part; (2) no party or counsel

for any party contributed money to fund preparing or submitting this brief; and (3) apart from

amicus curiae and its counsel, no other person contributed money to fund preparing or

submitting this brief.
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                                    CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing Amicus Curiae Brief with the

Clerk of the U.S. District Court for the District of Columbia by using the CM/ECF system on

May 9, 2025. I certify that all participants in the case are registered CM/ECF users, and that

service will be accomplished by the CM/ECF system.


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